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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                 For rules and forms visit
Clerk of Court                                                                 www.ca11.uscourts.gov


                                        October 31, 2023

Clerk - Southern District of Alabama
U.S. District Court
155 ST JOSEPH ST
STE 123
MOBILE, AL 36602


Appeal Number: 22-11674-JJ
Case Style: Thai Meditation Association of Alabama, Inc., et al v. City of Mobile, Alabama
District Court Docket No: 1:16-cv-00395-TFM-MU

The following record materials in the referenced case are returned herewith:

One Folder of Exhibits.




Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                        REC-3 Ltr Returning Record to DC/ wpm
